       Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 1 of 19 PageID #:1



                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


 NOVO NORDISK A/S AND NOVO
 NORDISK INC.,
                 Plaintiffs,                         Case No. 24-cv-11541
         v.
 AMBROSE MEDICAL, LLC D/B/A
 PERFORMANCE MEDICAL CLINIC,

                 Defendant.


                                           COMPLAINT

       Plaintiffs Novo Nordisk A/S (“NNAS”) and Novo Nordisk Inc. (“NNI”) (collectively,

“Plaintiffs” or “Novo Nordisk”) file their complaint against Ambrose Medical, LLC d/b/a

Performance Medical Clinic (“Defendant”) for false advertising, unfair competition, and deceptive

trade practices and seek injunctive, monetary, and other relief. Plaintiffs allege as follows, on

actual knowledge with respect to themselves and their own acts and on information and belief as to

all other matters.

                                        INTRODUCTION

       1.      Novo Nordisk is a healthcare company with a 100-year history of innovation in

developing medicines to treat serious chronic diseases like diabetes and obesity.

       2.      The development of semaglutide is an example of Novo Nordisk’s commitment to

innovation for those living with chronic diseases. Semaglutide is the foundational molecule that

serves as the primary ingredient for Novo Nordisk’s three prescription-only medicines approved by

the Food and Drug Administration (“FDA”): Ozempic® (semaglutide) injection and Rybelsus®

(semaglutide) tablets for adults with type 2 diabetes and Wegovy® (semaglutide) injection for

chronic weight management.

                                                 1
        Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 2 of 19 PageID #:2



        3.       Novo Nordisk is the only company in the United States with FDA-approved

medicines containing semaglutide.

        4.       Novo Nordisk is also the only company authorized to identify its FDA-approved

semaglutide medicines using the trademarks Ozempic®, Wegovy®, and Rybelsus®.

        5.       The FDA has not approved any generic versions of semaglutide medicines. To the

contrary, the FDA has sent warning letters to companies that have claimed that their unapproved

drug products have the “same active ingredient as Ozempic, Rybelsus, and Wegovy,” noting that

Ozempic and Wegovy are the only “two injectable semaglutide products FDA‐approved for the

U.S. market.”1

        6.       This action is brought pursuant to the Lanham Act, 15 U.S.C. §§ 1051 et seq.,

related state laws, and the common law arising out of Defendant’s acts of false advertising and

unfair and deceptive trade practices, and Plaintiffs’ rights in their Wegovy®, Ozempic®, and

Rybelsus® marks.

        7.       Defendant uses, markets, and sells to patients compounded drug products that

purport to contain semaglutide.

        8.       Even though such compounded drug products have not been evaluated by the FDA

for their safety, effectiveness, or quality, Defendant falsely and misleadingly represents to patients

that its products are FDA-approved or the same as, or equivalent to, Novo Nordisk’s FDA-

approved semaglutide medicines.




1
 FDA – Warning Letter to Ozempen.com, MARCS-CMS 684435 — JUNE 24, 2024,
https://www.fda.gov/inspections-compliance-enforcement-and-criminal-investigations/warning-letters/ozempencom-
684435-
06242024#:~:text=WARNING%20LETTER&text=As%20discussed%20below%2C%20FDA%20has,new%20drugs%
20and%20misbranded%20drugs.
                                                     2
       Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 3 of 19 PageID #:3



       9.         Defendant’s conduct is likely to confuse and deceive patients into mistakenly

believing that they are purchasing authentic Novo Nordisk medicines or medicines that have been

evaluated by the FDA, studied in clinical trials, and deemed safe and effective.

                                            THE PARTIES

       10.        Plaintiff NNAS is a corporation organized and existing under the laws of the

Kingdom of Denmark and has its principal place of business in Bagsværd, Denmark.

       11.        Novo Nordisk developed the Ozempic® , Wegovy®, and Rybelsus® medicines.

       12.        NNAS has granted to Plaintiff NNI exclusive rights to market, advertise, promote,

offer for sale, and sell Ozempic®, Wegovy®, and Rybelsus® medicines in the United States.

       13.        Plaintiff NNI is a corporation organized and existing under the laws of Delaware

and has its principal place of business in Plainsboro, New Jersey.

       14.        NNI promotes, offers, and/or sells Novo Nordisk’s Ozempic®, Wegovy®, and

Rybelsus® medicines throughout the United States, including in this District.

       15.        Defendant Ambrose Medical, LLC d/b/a Performance Medical Clinic is an Illinois

limited liability company with a business address at 1181 State Route 157, Suite 1B, Edwardsville,

Illinois 62025.

       16.        Defendant sells and promotes compounded drug products that purport to contain

semaglutide, but that have not been approved by the FDA (“Unapproved Compounded Drugs”).

       17.        Defendant falsely claims, or otherwise misleadingly suggests, that its Unapproved

Compounded Drugs are the same as or equivalent to Ozempic® and Wegovy® medicines.

                                    JURISDICTION AND VENUE

       18.        The Court has subject matter jurisdiction over the Lanham Act causes of action

pleaded herein pursuant to 15 U.S.C. § 1121 and 28 U.S.C. § 1338(a). The Court has supplemental

jurisdiction over the state and common law causes of action pleaded herein pursuant to 28 U.S.C.

§ 1338(b).
                                                   3
       Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 4 of 19 PageID #:4



        19.     Defendant is subject to personal jurisdiction in this Court because Defendant is

registered in Illinois and has a principal place of business in Illinois.

        20.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because Defendant, on

information and belief, offers services and/or products in this District, manufactures and/or sells its

compounded drug products that purport to contain semaglutide in this District, and otherwise

conducts business in this District.

         NOVO NORDISK’S FDA-APPROVED SEMAGLUTIDE MEDICINES AND
             OZEMPIC®, WEGOVY®, AND RYBELSUS® TRADEMARKS

        21.     Plaintiffs use the trademarks “Ozempic,” “Wegovy,” and “Rybelsus” to identify and

promote the FDA-approved Ozempic®, Wegovy®, and Rybelsus® medicines. T h e Ozempic®,

Wegovy®, and Rybelsus® medicines are sold and marketed in the United States by NNAS’s indirect,

wholly-owned subsidiary, NNI.

        22.     The Ozempic® medicine is indicated for adults with type 2 diabetes to improve

blood sugar (glucose), along with diet and exercise.

        23.     The Ozempic® medicine also lowers the risk of major cardiovascular events such as

stroke, heart attack, or death in adults with type 2 diabetes and known heart disease.

        24.     The Wegovy® medicine is indicated to reduce excess body weight and maintain

weight reduction long term in adults and children aged ≥ 12 years with obesity, and some adults

with overweight and weight-related medical problems, along with a reduced calorie diet and

increased physical activity.

        25.     The Wegovy® medicine is also indicated, with a reduced calorie diet and increased

physical activity, to reduce the risk of major adverse cardiovascular events such as “cardiovascular”

death, heart attack, or stroke in adults with known heart disease and with either obesity or

overweight.



                                                    4
       Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 5 of 19 PageID #:5



       26.     The Rybelsus® medicine is indicated for adults with type 2 diabetes to improve

blood sugar (glucose), along with diet and exercise.

       27.     The Ozempic®, Wegovy®, and Rybelsus® medicines have been extensively studied in

clinical trials and are FDA-approved.

       28.     Each of the Ozempic®, Wegovy®, and Rybelsus® medicines has a unique safety and

efficacy profile which is set forth in its respective product label.

       29.     The Ozempic®, Wegovy®, and Rybelsus® medicines are prescription-only

medicines that should only be prescribed in direct consultation with, and under the supervision of,

a licensed healthcare professional.

             DEFENDANT’S SALE OF UNAPPROVED COMPOUNDED DRUGS

       30.     Novo Nordisk has not authorized Defendant to use its marks, has not provided

Defendant with Novo Nordisk’s FDA-approved semaglutide medicines, and does not sell the bulk

semaglutide in Novo Nordisk’s FDA-approved semaglutide medicines to any compounding

pharmacies from which it may be sourcing its Unapproved Compounded Drugs.

       31.     Defendant markets and sells to patients Unapproved Compounded Drugs that

purport to contain semaglutide and that are not approved by the FDA.

       32.     The FDA has not approved Defendant’s Unapproved Compounded Drugs.

       33.     On information and belief, the Unapproved Compounded Drugs sold by Defendant

are made by compounding pharmacies, which deliver them either directly to patients or to

Defendant for administration or dispensing to patients.

       34.     The FDA defines compounding as a “practice in which a licensed pharmacist, a

licensed physician, or, in the case of an outsourcing facility, a person under the supervision of a




                                                  5
       Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 6 of 19 PageID #:6



licensed pharmacist, combines, mixes, or alters ingredients of a drug to create a medication tailored

to the needs of an individual patient.”2

       35.     According to the FDA, “[c]ompounded drugs are not FDA-approved. This means

that FDA does not review these drugs to evaluate their safety, effectiveness, or quality before they

reach patients.”3

       36.     The FDA has further stated that compounded drugs “do not have the same safety,

quality, and effectiveness assurances as approved drugs. Unnecessary use of compounded drugs

unnecessarily exposes patients to potentially serious health risks.”4

       37.     As the FDA has explained, “[c]ompounded drugs pose a higher risk to patients than

FDA-approved drugs because compounded drugs do not undergo FDA premarket review for safety,

quality or effectiveness. Compounded drugs should only be used for patients whose medical needs

cannot be met by an available FDA-approved drug.”5

       38.     The process used to produce most “semaglutide” used in compounding is

fundamentally different from the process used to produce the semaglutide in Novo Nordisk’s FDA-

approved medicines. Novo Nordisk manufactures the semaglutide in its medicines, pursuant to its

FDA approval, in yeast cells under a closely controlled multistep process that uses recombinant

DNA technology. Most compounded “semaglutide,” however, uses a “semaglutide” manufactured

via chemical synthesis. The fundamental differences between these processes have resulted in new




2
  Human Drug Compounding, https://www.fda.gov/drugs/guidance-compliance-regulatory-
information/human-drug-compounding.
3
  Compounding Laws and Policies, https://www.fda.gov/drugs/human-drug-
compounding/compounding-laws-and-policies.
4
  Compounding and the FDA: Questions and Answers, https://www.fda.gov/drugs/human-drug-
compounding/compounding-and-fda-questions-and-answers.
5
  FDA Alerts Health Care Providers, Compounders and Patients of Dosing Errors Associated with
Compounded Injectable Semaglutide Products, https://www.fda.gov/drugs/human-drug-
compounding/fda-alerts-health-care-providers-compounders-and-patients-dosing-errors-associated-
compounded.
                                               6
       Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 7 of 19 PageID #:7



impurities, higher levels of known impurities, immunogenicity concerns, and potential stability

issues in tested samples of compounded “semaglutide.”6

       39.    The FDA has received reports of adverse events, some requiring hospitalization,

related to overdoses from dosing errors associated with compounded “semaglutide” products.7

Based on data as of September 30, 2024, the FDA’s Adverse Event Reporting System (FAERS)

database includes 619 cases of adverse events associated with compounded “semaglutide”—nearly

triple the number of adverse events for all compounded drugs in 2022.8 Of those 619 cases, the

FDA classified 446 as “serious” adverse events, 144 as requiring hospitalization, and twelve as

involving deaths. In several instances, patients mistakenly administered five to 20 times more than

the intended dose of compounded “semaglutide.”

       40.    The FDA has stated that the containers and packaging (including multidose vials and

prefilled syringes) used by compounders, the varying product concentrations, and the instructions

accompanying the compounded drug contribute to the potential medical errors.

       41.    A publication from the Journal of the American Pharmacists Association also

highlighted errors where patients accidentally self-administered doses of compounded

“semaglutide” up to ten times greater than the intended amount.9




6
  Morten Hach et al, Impact of Manufacturing Process and Compounding on Properties and Quality
of Follow-On GLP-1 Polypeptide Drugs, Pharm. Res., (Oct. 8, 2024), available at
https://pubmed.ncbi.nlm.nih.gov/39379664/.
7
  FDA Alerts Health Care Providers, Compounders and Patients of Dosing Errors Associated with
Compounded Injectable Semaglutide Products, https://www.fda.gov/drugs/human-drug-
compounding/fda-alerts-health-care-providers-compounders-and-patients-dosing-errors-associated-
compounded.
8
  FDA Adverse Event Reporting System (FAERS) Public Dashboard,
https://www.fda.gov/drugs/questions-and-answers-fdas-adverse-event-reporting-system-faers/fda-
adverse-event-reporting-system-faers-public-dashboard (last visited October 31, 2024).
9
  Joseph E. Lambson et al, Administration Errors of Compounded Semaglutide Reported to a
Poison Control Center—Case Series, 63 J. Am. Pharmacists Assc’n 5 (2023), available at
https://www.japha.org/article/S1544-3191(23)00231-5/abstract.
                                               7
       Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 8 of 19 PageID #:8



        42.     FDA has issued guidance on its “Concerns with Unapproved GLP-1 Drugs Used for

Weight Loss,” which provides that: (1) “compounded drugs are not FDA-approved”; (2) use of

compounded drugs containing “semaglutide” “can be risky for patients, as unapproved versions do

not undergo FDA’s review for safety, effectiveness and quality”; and (3) “FDA has received

reports of adverse events related to compounded versions of semaglutide . . . . However, federal

law does not require state-licensed pharmacies that are not outsourcing facilities to submit adverse

events to FDA so it is likely that adverse events from compounded versions of these drugs are

underreported.”10

              DEFENDANT’S FALSE ADVERTISING IN CONNECTION WITH ITS
                    SALE OF UNAPPROVED COMPOUNDED DRUGS

        43.     Despite the foregoing, Defendant unlawfully advertises its Unapproved

Compounded Drugs by making statements that describe the Ozempic®, Wegovy®, and Rybelsus®

medicines but that are false or misleading when in reference to Defendant’s Unapproved

Compounded Drugs.

        44.     Defendant has claimed or implied that its Unapproved Compounded Drugs have

been approved by the FDA or have been reviewed by the FDA for safety, effectiveness, and

quality.

        45.     Defendant has claimed or implied that its Unapproved Compounded Drugs contain

the same semaglutide that the FDA evaluated in the context of reviewing and approving Novo

Nordisk’s new drug applications for the Ozempic®, Wegovy®, and Rybelsus® medicines.

        46.     Defendant has claimed or implied that its Unapproved Compounded Drugs are

generic versions of the Wegovy® and Ozempic® medicines.

        47.     The claims in the preceding three paragraphs are false and misleading.



10
  FDA’s Concerns with Unapproved GLP-1 Drugs Used for Weight Loss, https://www.fda.gov/drugs/postmarket-
drug-safety-information-patients-and-providers/fdas-concerns-unapproved-glp-1-drugs-used-weight-loss.
                                                     8
        Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 9 of 19 PageID #:9



        48.    On information and belief, Defendant has made these false and misleading

statements to attract customers and generate revenues and profits, including by passing off its

Unapproved Compounded Drugs purporting to contain “semaglutide” as the Ozempic®, Wegovy®,

and Rybelsus® medicines or authorized variations of those medicines.

        49.    Novo Nordisk has no control over the nature, quality, or efficacy of the products

sold by Defendant, including the Unapproved Compounded Drugs.

        50.    Defendant’s false advertising is reflected in the paragraphs that follow as well as

Exhibit A hereto.

        51.    Defendant falsely claims in its promotional materials that its Unapproved

Compounded Drugs have been approved by the FDA and have been subjected to clinical studies

and trials.




        52.    Defendant further deceives patients on its website and on social media regarding the

effectiveness of its Unapproved Compounded Drugs, falsely claiming, for example, that “[i]n a

recent study,” its Unapproved Compounded Drugs resulted in a loss of “over 15% percent of . . .

body fat”:




                                                 9
Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 10 of 19 PageID #:10




                                    10
Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 11 of 19 PageID #:11




                                    11
     Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 12 of 19 PageID #:12




       53.     In reality, Novo Nordisk’s FDA-approved medicines are the only drugs containing

semaglutide to have been the subject of clinical trials. On information and belief, no such data

exist for Defendant’s Unapproved Compounded Drugs.

       54.     The FDA has not reviewed, let alone approved, Defendant’s Unapproved

Compounded Drugs and has not reviewed the “semaglutide” allegedly in Defendant’s Unapproved

Compounded Drugs for safety, effectiveness, or quality.

       55.     On information and belief, Defendant has engaged and continues to engage in these

unlawful practices to attract customers and generate revenues and profits.

       56.     Defendant’s false and misleading statements and practices are likely to cause

mistake and deception in the marketplace.

       57.     Defendant’s false and misleading marketing is also likely to expose patients to

unnecessary risks. Patients who mistakenly believe Defendant to be offering Novo Nordisk’s

FDA-approved medicines, or equivalent thereto, are unlikely to understand the unique risks




                                                 12
      Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 13 of 19 PageID #:13



associated with, or the lack of clinical trials or testing establishing the safety and effectiveness of,

Defendant’s Unapproved Compounded Drugs.11

        58.      On information and belief, unless enjoined by this Court, Defendant will continue to

falsely advertise its products as being equivalent to or associated with the Ozempic® and Wegovy®

medicines, all in violation of Plaintiffs’ rights.

                                        FIRST CAUSE OF ACTION

                            False and Misleading Advertising and Promotion
                                in Violation of 15 U.S.C. § 1125(a)(1)(B)

        59.      Plaintiffs reallege and incorporate each allegation in the preceding paragraphs of this

Complaint as though fully set forth here.

        60.      Defendant’s practices, as described in this Complaint, constitute unfair competition

and false advertising in violation of Section 43(a)(1)(B) of the Lanham Act, 15 U.S.C.

§ 1125(a)(1)(B).

        61.      Defendant has violated the Lanham Act by using false or misleading descriptions of

fact and false or misleading representations of fact in its commercial advertising or promotion that

misrepresent the nature, characteristics, and/or qualities of Defendant’s business practices and

products, as set forth above.

        62.      Defendant has also engaged in other false or misleading advertising and promotion

intended to assure patients that Defendant’s practices are lawful. On information and belief,

Defendant provides patients who purchase Defendant’s Unapproved Compounded Drugs (or whom

Defendant is trying to persuade to purchase its drugs) information that makes false or misleading

statements, including those described herein and in the exhibits hereto.




11
  See, e.g., Dozens Say They Lost Eyesight After Routine Surgery Using Compounded Pharmacy Drugs, WFAA,
https://www.wfaa.com/article/news/do-not-publish-yet/287-5f002ed3-e110-4063-9959-a2e5f54b5097 (reporting
mistaken belief of patient taking a compounded drug that “every pill you take, every shot you take is tested.”).
                                                         13
      Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 14 of 19 PageID #:14



       63.       The above-described acts of Defendant, if not enjoined by this Court, are likely to

deceive members of the general public.

       64.       The above-described acts of Defendant have irreparably harmed and, if not enjoined,

will continue to irreparably harm Plaintiffs.

       65.       The above-described acts of Defendant have irreparably harmed and, if not enjoined,

will continue to irreparably harm the interest of the public in being free from confusion, mistake,

and deception.

       66.       By reason of Defendant’s acts as alleged above, Plaintiffs have suffered and will

continue to suffer injuries, including injury to Plaintiffs’ business reputation.

       67.       Because Plaintiffs’ remedies at law are not adequate to compensate for all the

injuries inflicted by Defendant, Plaintiffs are entitled to entry of preliminary and permanent

injunctive relief requiring Defendant to cease its false and misleading advertising and promotion

and unfair competitive practices.

       68.       Because the above-described acts of Defendant are willful, the Court should award

disgorgement of Defendant’s profits (enhanced at the Court’s discretion), treble damages, and costs

under 15 U.S.C. § 1117 to Plaintiffs.

       69.       This case is exceptional, making Plaintiffs eligible for an award of attorneys’ fees

under 15 U.S.C. § 1117.

                                    SECOND CAUSE OF ACTION

                        Unfair Competition in Violation of the Common Law

       70.       Plaintiffs reallege and incorporate each allegation in in the preceding paragraphs of

this Complaint as though fully set forth here.

       71.       The above-described acts of Defendant constitute common law unfair competition.

       72.       The above-described acts of Defendant unfairly and wrongfully exploit Plaintiffs’

trademark, goodwill, and reputation.
                                                   14
      Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 15 of 19 PageID #:15



        73.      The above-described acts of Defendant have irreparably harmed and, if not enjoined,

will continue to irreparably harm the interest of the public in being free from confusion, mistake,

and deception.

        74.      Because Plaintiffs’ remedies at law are not adequate to compensate for the injuries

inflicted by Defendant, the Court should enter preliminary and permanent injunctive relief, in

addition to awarding disgorgement of Defendant’s profits and corrective advertising costs to

Plaintiffs.

                                          THIRD CAUSE OF ACTION

                              Deceptive Trade Practices in Violation of
                               815 Ill. Comp. Stat. Ann. 510/1 et seq.

        75.      Plaintiffs reallege and incorporate each allegation in the preceding paragraphs of this

Complaint as though fully set forth here.

        76.      Defendant’s practices, as described in this Complaint, constitute deceptive trade

practices in violation of 815 Ill. Comp. Stat. Ann. 510/2(a).

        77.      The above-described acts of Defendant have violated the Illinois Uniform Deceptive

Trade Practices Act by:

              a. causing likelihood of confusion or of misunderstanding as to source, sponsorship,

                 approval, certification, affiliation, connection, or association of goods or services,

                 510/2(a)(2) & (3); and

              b. representing that goods or services have sponsorship, approval, characteristics,

                 ingredients, uses, benefits, or quantities that they do not have, 510/2(a)(5).

        78.      The above-described acts of Defendant constitute unfair methods of competition,

and unconscionable, deceptive, or unfair acts or practices in violation of the laws of the State of

Illinois.



                                                    15
      Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 16 of 19 PageID #:16



       79.      The above-described acts of Defendant have irreparably harmed and, if not enjoined,

will continue to irreparably harm Plaintiffs.

       80.      By reason of Defendants’ acts, Plaintiffs’ remedy at law is not adequate to

compensate for the injuries inflicted by Defendants. Accordingly, the Court should enter

preliminary and permanent injunctive relief, in addition to awarding disgorgement of Defendant’s

profits and corrective advertising costs to Plaintiffs.

                                      REQUEST FOR RELIEF

       WHEREFORE, Plaintiffs request judgment against Defendant as follows:

       1.       That the Court enter a judgment against Defendant that Defendant has:

             a. Engaged in false and misleading advertising and promotion, in violation of 15

                U.S.C. § 1125(a);

             b. Engaged in unfair competition under the common law and violated the Illinois

                Uniform Deceptive Trade Practices Act, 815 Ill. Comp. Stat. Ann. 510/1 et seq.

       2.       That the Court find that each of the above acts was willful.

       3.       That the Court preliminarily and permanently enjoin and restrain Defendant and its

agents, servants, employees, successors, and assigns, and all other persons acting in concert with or

in conspiracy with or affiliated with Defendant, from:

             a. using the Ozempic® and Wegovy® marks, including (i) use in any manner that is

                likely to cause confusion or mistake, to deceive, or otherwise infringe Novo

                Nordisk’s rights in the Ozempic® and Wegovy® marks, or (ii) use in connection with

                the advertising, marketing, sale, or promotion of any Unapproved Compounded

                Drugs; and,

             b. advertising, stating, or suggesting that any Unapproved Compounded Drugs,

                including any Unapproved Compounded Drugs that either are available, directly or


                                                   16
     Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 17 of 19 PageID #:17



               indirectly, from or through Defendant or the use of which or access to which is

               facilitated by, or with the involvement of, Defendant:

                    i. are, or contain, genuine or authentic Novo Nordisk Ozempic® or Wegovy®

                       medicines;

                   ii. are sponsored by or associated with Novo Nordisk;

                  iii. are approved by the FDA; have been reviewed by the FDA for safety,

                       effectiveness, or quality; or have been demonstrated to the FDA to be safe or

                       effective for their intended use;

                  iv. achieve or have been shown or proven to achieve certain therapeutic results,

                       effects, or outcomes, including by relying on or making reference to clinical

                       trial results for Novo Nordisk’s medicines;

                   v. achieve or have been shown or proven to achieve therapeutic results, effects,

                       or outcomes similar or identical to Novo Nordisk’s medicines and/or are

                       interchangeable with or equivalent to genuine Novo Nordisk medicines;

                  vi. are associated or connected with Novo Nordisk or Novo Nordisk’s

                       medicines; or

                  vii. contain any ingredient (including but not limited to semaglutide) that is

                       supplied by Novo Nordisk, is approved by the FDA, or is the same as any

                       ingredient in any Novo Nordisk medicine.

            c. engaging in any unfair competition with Plaintiffs; and/or

            d. engaging in any deceptive acts or practices.

       4.      That the Court require Defendant to disclose conspicuously and prominently in any

public-facing materials for any Unapproved Compounded Drugs, including all advertising,

marketing, and promotional materials, that: (a) the Unapproved Compounded Drugs are


                                                  17
      Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 18 of 19 PageID #:18



compounded drugs that have not been approved by the FDA; have not been reviewed by the FDA

for safety, effectiveness, or quality; and have not been demonstrated to the FDA to be safe or

effective for their intended use; (b) the processes by which the compounded drugs are

manufactured have not been reviewed by the FDA; and (c) FDA-approved medicines containing

semaglutide are available.

          5.    That the Court award Plaintiffs monetary relief in the form of disgorgement of

Defendant’s profits for Defendant’s false advertising and unfair competition and that this monetary

relief be trebled due to Defendant’s willfulness, in accordance with the provisions of 15 U.S.C. §

1117 and any applicable state laws.

          6.    That the Court award disgorgement of Defendant’s profits resulting from

Defendant’s infringement of Plaintiffs’ rights and by means of Defendant’s unfair competition to

Plaintiffs.

          7.    That the Court order Defendant to account for and disgorge to Plaintiffs all amounts

by which Defendant has been unjustly enriched by reason of Defendant’s unlawful actions.

          8.    That the Court award Plaintiffs punitive damages by reason of Defendant’s

willful unlawful actions.

          9.    That the Court award Plaintiffs pre-judgment and post-judgment interest on all

damages.

          10.   That the Court award Plaintiffs their reasonable attorneys’ fees pursuant to 15

U.S.C. § 1117 and any other applicable provision of law.

          11.   That the Court award Plaintiffs the costs of suit incurred herein.

          12.   That the Court award such other or further relief as the Court may deem just and

proper.




                                                   18
     Case: 1:24-cv-11541 Document #: 1 Filed: 11/08/24 Page 19 of 19 PageID #:19



November 8, 2024                       Respectfully submitted,

                                       By: /s/ Suyash Agrawal
                                           Suyash Agrawal
                                           Hillary W. Coustan
                                           Brigid Carmichael
                                           MASSEY & GAIL LLP
                                           50 E Washington Street, Suite 400
                                           Chicago, Illinois 60602
                                           sagrawal@masseygail.com
                                           hcoustan@masseygail.com
                                           bcarmichael@masseygail.com

                                              Attorneys for Plaintiffs
                                              NOVO NORDISK A/S and
                                              NOVO NORDISK INC.




                                         19
